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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

SANDRA GARZA,                            )
                                         )
              Plaintiff,                 )
                                         )
v.                                       )          Case No. 1:23-cv-00038 (APM)
                                         )
DONALD J. TRUMP, et al.,                 )
                                         )
              Defendants.                )
                                         )

     DEFENDANT PRESIDENT DONALD J. TRUMP’S MOTION FOR STAY

      President Donald J. Trump, by counsel, respectfully moves this Court to stay

this case as it relates to him for the duration of the criminal proceedings in United

States v. Donald J. Trump, Case No. 1:23-cr-00257, and any appeal thereafter. Upon

meeting and conferring with Plaintiff’s counsel, Plaintiff opposes this motion.

      In support of his motion for stay, President Trump submits the accompanying

memorandum, which is fully incorporated herein.


Dated: August 14, 2023                        Respectfully submitted,

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                          CERTIFICATE OF SERVICE


      I certify that on August 14, 2023, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



                                      /s/ Jesse R. Binnall
                                      Jesse R. Binnall, VA022

                                      Attorney for President Donald J. Trump




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